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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,
                                                           Case No. 1:20-cv-03590-JEB
                             Plaintiff,
                                                           HON. JAMES E. BOASBERG
     v.

META PLATFORMS, INC.,

                             Defendant.




                  DECLARATION OF C. SCOTT LENT
   IN SUPPORT OF MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE

     I, C. Scott Lent, hereby declare and state as follows:

     1. I am counsel for non-party Match Group, Inc. in the above-captioned action. I have

          personal knowledge of the facts set forth in this Declaration, and if called as a

          witness, I could and would testify competently to these facts under oath.

     2. My full name is Charles Scott Lent. I am a licensed attorney practicing in the New

          York office of the law firm Arnold & Porter Kaye Scholer LLP, 250 West 55th

          Street, New York, NY 10019. My telephone number is (212) 836-8220; my fax

          number is (212) 836-8689; my email is scott.lent@arnoldporter.com.

     3. I am a member in good standing of the New York state bar (No. 3948718), as well as

          the bars of the U.S. District Court for the Southern District of New York, U.S.

          District Court for the Eastern District of New York, U.S. Court of Appeals for the

          Second Circuit, and U.S. Court of Appeals for the Ninth Circuit.
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       4. I have never been disciplined by any bar and there are no pending disciplinary

           proceedings against me in any bar. I am not currently disbarred in any court, and I

           have not been denied admission to the courts of any state or any court of the United

           States.

       5. I have not been admitted pro hac vice in this Court within the last two years.

       6. I do not engage in the practice of law from an office located in the District of

          Columbia, am not a member of the District of Columbia state bar, and do not have an

          application for membership pending.

       I declare under penalty of perjury that the foregoing is true and correct.



      Executed on this 30th day of March, 2022 in New York, NY.


Dated: March 30, 2022                        Respectfully submitted,




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